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    UNITED STATES DISTRICT COURT FOR THE
    DISTRICT OF NEW JERSEY
    --------------------------------------------------------------------
    JULIE A. SU, Acting Secretary of Labor, United States :
    Department of Labor, 1    0 F




                                                                         :
                                      Plaintiff,
                              v.                                         :
                                                                             No. 2:20-CV-17785 (KM) (ESK)
    ERNIE’S AUTO DETAILING INC. and ERNESTO                              :
    DECENA a/k/a BUENAVENTURA E. DECENA,                                     Returnable: June 5, 2023
    individually,                                                        :

                                      Defendants.                        :
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                    NOTICE OF APPLICATION FOR DEFAULT JUDGMENT

           PLEASE TAKE NOTICE that pursuant to Rule 55(b) of the Federal Rules of Civil

Procedure, Plaintiff Julie A. Su, Acting Secretary of Labor, United States Department of Labor

(the “Secretary”), will apply to the United States District Court for the District of New Jersey, at

the United States Post Office and Courthouse Building, 2 Federal Square, Newark, NJ 07101, on

June 5, 2023, or as soon thereafter as counsel and/or the parties may be heard, for default judgment

against Defendants Ernie’s Auto Detailing, Inc. and Ernesto Decena a/k/a Buenaventura Decena

(collectively, “Defendants”).

           As set forth in the memorandum of law in support of the application for default judgment

and Declaration of Aristoteles Rodriguez and accompanying exhibits, default judgment is

appropriate. The Clerk of the Court has entered default against Defendants. See Text Entry dated

Dec. 30, 2022. Accordingly, the Secretary respectfully requests that this Court grant the

Secretary’s application for default judgment and enter the attached proposed judgment: (1) finding

that Defendants willfully violated the overtime and recordkeeping requirements of the Fair Labor


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 Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Acting Secretary of Labor Julie
A. Su is automatically substituted as Plaintiff.
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Standards Act of 1938, as amended 29 U.S.C. § 201, et seq. (the “FLSA”); (2) ordering that

Defendants are jointly and severally liable to the Secretary in the amount of $8,277,810 in back

wages and an equal amount of $8,277,810 in liquidated damages, for a total of $16,555,620, plus

post-judgment interest; and (c) enjoining Defendants and their officers, agents, servants,

employees, attorneys, and other persons who are in active concert or participation with them from

violating the provisions of the FLSA in the future.

       PLEASE TAKE FURTHER NOTICE that in accordance with Local Civil Rule 7.1(d), any

opposition papers will be served on or before May 22, 2023 and any reply papers on or before May

30, 2023.

Dated: May 11, 2023
       New York, New York
                                                      SEEMA NANDA
                                                      Solicitor of Labor

                                                      JEFFREY S. ROGOFF
                                                      Regional Solicitor

                                                      /s/ Amy Tai
                                                      AMY TAI
                                                      Senior Trial Attorney

                                                      /s/ Audrey-Marie H. Winn
                                                      AUDREY-MARIE H. WINN
                                                      Trial Attorney

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                                                      Attorneys for the Acting Secretary of Labor,
                                                      Julie A. Su



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